Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 1 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 2 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 3 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 4 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 5 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 6 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 7 of 8
Case 19-40474   Doc 1   Filed 03/26/19   Entered 03/26/19 14:45:16   Desc Main
                           Document      Page 8 of 8
